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UNITED STATES OF AMERICA

vs-

STEVEN HARCEL BIRCH, ET. AL.
APPLICATIONl ORDER and WRIT FOR HABEAS CORPUS AD TESTIFICANDUH

CARROLL L. ANDRE, III, Assistant United States Attorney, applies to the
Court for a Writ to have ARIC BADY, SR., R&I # 223557, Booking # 05109221, DOB
3-14-72, SSN# XXX-XX-XXXX, now being detained in the Shslby County Jail, in
Memphis, Tennessee, appear as a witness before the Honorable Jon Phipps McCalla
on Thursday, August 25, 2005 at 3:00 p.m. at the sentencing hearing of co-
defendant Steven Marcel Birch and for such other appearances as this Court may
direct.

Respectfully submitted this ;Zl§t*day of July, 2005.

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CARROLL L. ANDRE, III
ASSISTANT UNITEB STATES ATTORNEY

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Upon consideration of the foregoing Application, DAVID G. JOLLEY, U.S.
MARSI'IAL, WISTERN DISTRICT OF TENNESSEE, mHIS, TN SHERIFF/WARDEN, Shelby County
Jail in Memphis, Tennessee.

YOU ARE HEREBY COMMANDED to have ARIC BADY, SR., appear before the
Honorable Jon Phipps McCalla as a witness at the date and time aforementioned.

ENTERED this C;?; day of July, 2005.

 

HONO LE DIANE V¥SCOVO
UNITED STATES HAGISTRATE JUDGE

Th|s document entered on the docket sheet In compliance /Cg 7
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UNITED `sATEs DISTRICT COURT - WTERN D's'TRCT oFTENNEssEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 167 in
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Honorable J on McCalla
US DISTRICT COURT

